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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,             )
                                      )
            Plaintiff,                )      Case No. CR-06-126-S-BLW
                                      )
      v.                              )      ORDER ADOPTING
                                      )      AMENDED REPORT
HAROLD CARL BALLENGER,                )      AND RECOMMENDATION
                                      )
            Defendant.                )
                                      )

      The Court has before it an Amended Report and Recommendation filed by

the United States Magistrate Judge. (Docket No. 421). On November 26, 2007,

Defendant HAROLD CARL BALLENGER appeared before the Magistrate Judge

to enter a change of plea pursuant to a written plea agreement. The Magistrate

Judge conducted the plea hearing and concluded there was a factual basis for

Defendant’s plea of guilty to Counts 2 and 6 (Forfeiture) of the Superseding

Indictment, and that it was entered voluntarily and with full knowledge of the

consequences.

      Thereafter, on December 5, 2007, Defendant HAROLD CARL

BALLENGER appeared for a supplemental change of plea hearing before the



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Magistrate Judge during which Defendant was advised that this Court would

decide whether or not to be bound by the plea and Plea Agreement containing a

stipulated sentencing range after reviewing Defendant’s presentence report. The

Magistrate Judge then recommended that if the Court determined that the plea and

Plea Agreement containing the stipulated sentencing range should be accepted,

then the Defendant’s plea of guilty to Counts 2 and 6 (forfeiture) of the

Superseding Indictment (Docket No. 197) be accepted and Counts 1, 4, 5, and 8 be

dismissed at time of sentencing.

      No objections to the Amended Report and Recommendation had been filed.

However, the Court deferred a decision on whether to adopt the Amended Report

and Recommendation until hearing argument of counsel at the sentencing hearing.

      The Court reviewed the record and found at the sentencing hearing that the

requirements of Rule 11 had been met. See United States v. Reyna-Tapia, 328 F.3d

1114 (9th Cir. 2003). Specifically, the Court found that the Magistrate Judge

adhered to the requirements of Rule 11(b); that under Rule 11(b)(2), the

Defendant’s plea was voluntary and not the result of force or threats or promises

apart from the plea agreement; and that a factual basis for the plea exists. See id.

      Furthermore, at the sentencing hearing, the Court orally accepted

Defendant’s plea and the Plea Agreement finding that the stipulated sentencing


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range was reasonable after taking into consideration the sentencing guidelines and

18 U.S.C. § 3553(a) factors. The Court then orally adopted the Amended Report

and Recommendation and advised that a written order would follow. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Court’s oral

adoption of the Amended Report and Recommendation (Docket No. 421) at the

sentencing hearing shall be, and the same is hereby, confirmed, and the Amended

Report and Recommendation was ADOPTED as the decision of the District Court

and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Court’s oral ACCEPTANCE of

Defendant’s plea of guilty to Count 2 and 6 (forfeiture) of the Superseding

Indictment as a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offense, shall be, and the same

is hereby, confirmed.

      IT IS FURTHER ORDERED that the Court’s oral finding that Defendant

HAROLD CARL BALLENGER is GUILTY as to the crime charged in Counts 2

and 6 (forfeiture) of the Superseding Indictment is hereby confirmed.




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     IT IS FURTHER ORDERED that Counts 1, 4, and 5 are DISMISSED.

Defendant was not named in Count 8.

                                      DATED: November 26, 2008



                                      B. LYNN WINMILL
                                      Chief Judge
                                      United States District Court




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